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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                        FABLETICS, LLC,
                                   7                                                           Case No. 17-cv-00075-WHO
                                                        Plaintiff,
                                   8
                                                 v.                                            ORDER OF DISMISSAL UPON
                                   9                                                           SETTLEMENT
                                        LANDMARK TECHNOLOGY LLC,
                                  10
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                               The parties to the action, by and through their counsel, have advised the ADR Unit that they
                                  13
                                       have agreed to a settlement.
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                                  15           IT IS ORDERED that this matter is DISMISSED WITH PREJUDICE and any hearings

                                  16   scheduled in this matter are VACATED. It is further ordered that if any party certifies to this Court,

                                  17   with proper notice to opposing counsel within ninety (90) days from the date below, that settlement

                                  18   has not in fact occurred, this order shall be vacated and this cause shall be restored to the calendar for
                                  19   further proceedings. IT IS SO ORDERED.
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                                       Dated: June 9, 2017
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                                                                                           WILLIAM H. ORRICK
                                  23                                                       United States District Judge

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